Case 8:14-cv-02096-VMC-EAJ Document 13-6 Filed 09/18/14 Page 1 of 3 PageID 497




   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !
   !

                   EXHIBIT 6
         Declaration of Tameka Anderson
DocuSign Envelope ID: AB22749D-6004-4E9E-856E-539B31BF0611
           Case 8:14-cv-02096-VMC-EAJ Document 13-6 Filed 09/18/14 Page 2 of 3 PageID 498



                                               UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DIVISION


                 ROCA LABS, INC.,                                            Case No: 8:14-cv-2096-T-33EAJ
                                  Plaintiff,
                          v.
                 CONSUMER OPINION CORP. and
                 OPINION CORP.,
                                  Defendants.
                                                                         /


                 DECLARATION OF TAMEKA ANDERSON IN SUPPORT OF DEFENDANTS’
                  OPPOSITION TO PLAINTIFF’S MOTION FOR ENTRY OF A TEMPORARY
                                          INJUNCTION

                          I, Tameka Anderson, having personal knowledge of the matters set forth herein and

                 being competent to testify about them if called to do so at trial, state as follows:

                     1.        I am a resident of Memphis, Tennessee.

                     2.        Approximately in 2011, I purchased a product sold by Plaintiff Roca Labs, Inc.

                               (“Roca”) described by Roca as a “nutraceutical” that would be effective in

                               helping me lose weight.

                     3.        I received two tubs of Roca’s product, for which I paid approximately $500.

                     4.        Upon receiving Roca’s product, I attempted to use it in accordance with Roca’s

                               directions for approximately two weeks.

                     5.        The product was disgustingly thick and had the consistency of silicone. I was

                               thus incapable of swallowing the product in accordance with Roca’s directions. I

                               am not sure how any human could swallow it.
DocuSign Envelope ID: AB22749D-6004-4E9E-856E-539B31BF0611
           Case 8:14-cv-02096-VMC-EAJ Document 13-6 Filed 09/18/14 Page 3 of 3 PageID 499



                     6.      After attempting to use Roca’s product for approximately two weeks, I contacted

                             Roca’s customer support service and attempted to return the product.

                     7.      After my inquiry to Roca’s customer support service, I was informed by Roca

                             that they would provide no refunds, no matter what.

                          I declare under penalty of perjury that the foregoing statements are true and correct

                 to the best of my knowledge.

                          Executed this 16th day of September, 2014, in Memphis, Tennessee.




                                                                         Tameka Anderson
